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                     UNITED STATES DISTRICT COURT
        FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.3)
                                  Eastern Division



                              Plaintiff,
v.                                                   Case No.: 1:25−cv−01468
                                                     Honorable Steven C. Seeger
RHR International
                              Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, April 14, 2025:


         MINUTE entry before the Honorable Steven C. Seeger: On April 4, 2025, this
Court issued an order directing movant Philip McHugh to provide some background about
the filing fee, service of the motion, and the underlying litigation in the Southern District
of Ohio. The Court reviewed Movant McHugh's status report (Dckt. No. [11]). As
described there, McHugh paid the filing fee back on February 14, 2025. Based on the
docket, the Clerk simply did not enter receipt of that payment until April 8, 2025 (Dckt.
No. [10]). So the issue of the filing fee is cleared up. The other issue is service of the
motion to compel. As this Court previously noted, McHugh used the form for waiver
service of process, even though counsel was serving a motion to compel instead of serving
process (meaning service of a summons and a complaint). Typically this Court would
simply expect service of a third−party subpoena through typical means, plus a motion to
compel with a certificate of service. In any event, the errant use of that form put the train
on a slow track. The parties apparently believe that a response to the motion to compel
was due 60 days later. Based on that assumption, a response is due on April 15, 2025. So,
the long and short of it is that a response is on the near horizon. With that housekeeping
out of the way, the Court refers the pending motion to compel (Dckt. No. [1]) and all other
disputes about discovery to the presiding Magistrate Judge. Counsel for McHugh must
serve a copy of this order on respondent's counsel and file a certificate of service. Mailed
notice. (jjr, )




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